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                               United States District Court
                                         for the
                               Southern District of Florida

   Bryan Boigris, Plaintiff,               )
                                           )
   v.                                      ) Civil Action No. 19-21148-Civ-Scola
                                           )
   EWC P&T, LLC, Defendant.                )

                        Order Awarding Statutory Damages
         This Court previously granted in part the Defendant EWC P&T, LLC’s
  (“EWC”) motion for summary judgment on several counterclaims, including
  EWC’s Anti-Cybersquatting Consumer Protection Act (“ACPA”) counterclaim.
  (ECF No. 119.) The ACPA permits statutory damages for cybersquatting in lieu
  of actual damages. See 15. U.S.C. §§ 1117(d), 1125(d)(1). EWC requested the
  imposition of statutory damages in its counterclaim. (ECF No. 11.) Statutory
  damages range from “not less than $1,000 and not more than $100,000 per
  domain name, as the court considers just.” 15 U.S.C. § 1117(d). “While damage
  awards provide restitution and reparation for injury, they also serve to deter
  wrongful conduct.” Transamerica Corporation v. Moniker Online Services, LLC,
  2010 WL 1416979, at *4 (S.D. Fla. 2010) (Altonaga, J.).
         EWC’s counterclaim pleads that Boigris violated the ACPA because he
  registered two domain names—Europawaxcenter.com and EUwaxcenter.com—
  that are nearly identical to EWC’s trademark “European Wax Center.” (ECF No.
  11 at ¶ 57.) And, at summary judgment EWC presented evidence that Boigris
  had registered not just two, but eleven, domain names that are confusingly
  similar to European Wax Center. (ECF No. 119 at 12.) Given the evidence that
  Boigris engaged in a campaign of buying up a number of confusingly similar
  domain names that he never used in connection with the bona fide offering of
  any goods or services, the Court finds that $25,000 for the each of the two
  domain names set forth in the counterclaim, for a total of $50,000, is a just
  award of statutory damages. See K.S.R. X-Ray Supplies, Inc. v. Southeastern X-
  Ray, Inc., 2010 WL 4317026, at *7 (S.D. Fla. Oct. 25, 2010) (Marra, J.) (awarding
  $10,000 in statutory damages because the Defendants engaged in
  cybersquatting on a single domain name); Transamerica Corp. v. Moniker Online
  Svcs., LLC, 2010 WL 1416979, at *4 (S.D. Fla. Apr. 7, 2010) (Altonaga, J.)
  (awarding $100,000 for the use of one domain name where there was evidence
  of criminal intent, fraud, and concealment).
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        Done and ordered at Miami, Florida on March 12, 2020.



                                           ________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
